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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                             Case No: 24-cr-0251 (SRN/DJF)

                     Plaintiff,                        ORDER ON MOTIONS TO
                                                    EXTEND DATES AND EXCLUDE
v.                                                    TIME UNDER THE SPEEDY
                                                            TRIAL ACT
Jake Noland Northern,

                     Defendant.


       This matter is before the Court on Defendant Jake Noland Northern’s fourth Motion

to Extend Dates (ECF No. 36) and Motion to Exclude Time Under the Speedy Trial Act (ECF

No. 35), which seek to extend the May 14, 2025 deadline to file pretrial motions to June 20,

2025, to continue the motion hearing, and to exclude time from the Speedy Trial Act

calculations in this case. As grounds for the requested continuance, defense counsel states

he needs additional time to thoroughly discuss discovery and a recently presented plea

agreement with Mr. Northern.       The Government has no objection to the requested

continuance. The Court has reviewed the Motions (ECF Nos. 35, 36) and the Statement of

Facts (ECF No. 37) and finds good cause for a continuance. Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion to Exclude Time Under the

Speedy Trial Act and Motion to Extend Dates (ECF Nos. 35, 36) are GRANTED as follows:

      1.     Defendant’s pretrial motions must be filed and served consistent with Federal
             Rules of Criminal Procedure 12(b) and 47 and Local Rule 12.1(c) on or before
             June 20, 2025.

      2.     Counsel must electronically file a letter on or before June 20, 2025,
             if no motions will be filed and there is no need for hearing.
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       3.     All responses to motions, along with a Notice of Intent to Call Witnesses, must
              be filed by July 7, 2025, in accordance with Local Rule 12.1(c)(3)(A).

       4.     Any Responsive Notice of Intent to Call Witnesses must be filed by July 10,
              2025, in accordance with Local Rule 12.1(c)(3)(B).

       5.     A motions hearing will be held pursuant to Federal Rules of Criminal Procedure
              12(b) and (c) if:

              a.     The United States makes timely disclosures and the Defendant identifies
                     in the motions particularized matters for which an evidentiary hearing is
                     necessary; or

              b.     Oral argument is requested by either party in its motion, objection or
                     response pleadings.

       6.     If required, a motions hearing will be held before Magistrate Judge Dulce J.
              Foster on July 21, 2025 at 9:00 a.m., in Courtroom 8E, United States
              Courthouse, 300 South Fourth Street, Minneapolis, Minnesota 55415.

       7.     Trial and trial related dates will be set by separate order.

       Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of justice served

by the granting a continuance outweigh the best interest of the public and Defendant in a

speedy trial. This finding is based on all of the files and proceedings herein, including the

facts set forth in the motion and the supporting documents. Accordingly, the period of time

from May 14, 2025, the prior motions deadline, through June 20, 2025, the new motions

deadline, shall be excluded from the Speedy Trial Act computations in this case.


Dated: May 19, 2025                         s/ Dulce J. Foster
                                            DULCE J. FOSTER
                                            United States Magistrate Judge




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